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Exhibit 3
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


  In re:                                                    Chapter 11

  ALEXANDER JONES,                                          Case No. 22-33553 (CML)

                         Debtor.

  In re:                                                    Chapter 11

  FREE SPEECH SYSTEMS LLC,                                  Case No. 22-60043 (CML)

                         Debtor.



  DECLARATION OF VIDA J. ROBINSON IN SUPPORT OF THE CONNECTICUT
   FAMILIES’ EMERGENCY MOTION TO CONVERT THE FSS CASE AND IN
SUPPORT OF DEBTOR’S EMERGENCY MOTION TO CONVERT THE JONES CASE

VIDA J. ROBINSON declares pursuant to 28 U.S.C. § 1746:

       1.      My name is Vida J. Robinson. I am over twenty-one years of age and am fully

competent to make this declaration. I have personal knowledge of the facts stated in this

declaration, which are true and correct.

       2.      I am an associate at the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP,

counsel for David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley,

Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto Marino,

William Aldenberg, William Sherlach, Robert Parker, and Erica Ash (the “Connecticut Families”)

in these actions.

       3.      I submit this declaration in support of the Emergency Motion of the Connecticut

Families for an Order Pursuant to Bankruptcy Code Sections 105(a) and 1112(b) Converting the

Debtor’s Chapter 11 Case to a Case Under Chapter 7 of the Bankruptcy Code [Case No. 22-60043,
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Docket No. 921] filed on June 2, 2024, and in support of the Debtor’s Emergency Motion for Entry

of an Order Converting Debtor’s Chapter 11 Case to a Case Under Chapter 7 of the Bankruptcy

Code [Case No. 22-33553, Docket No. 684] filed by Alexander E. Jones (“Alex Jones”) on June

5, 2024.

       4.      On June 1, 2024, Alex Jones released an “Alex Jones Emergency Broadcast” on

Infowars.com titled Breaking: Deep State Attempted to Shut Down Infowars Headquarters Last

Night (the “June 1 Episode”). Attached hereto as Exhibit A is a copy of a true and correct

transcription of excerpts from the June 1 Episode. Where the speaker of the statement is not

identified in any transcription excerpt, it is Alex Jones.

       5.      On June 1, 2024, Alex Jones released another “Emergency Broadcast” on

Infowars.com titled Is This Infowars’ Last Broadcast? Patriots Rally Behind Alex Jones and Crew

(the “June 1 Bannon Episode”). Attached hereto as Exhibit B is a copy of a true and correct

transcription of excerpts from the June 1 Bannon Episode.

       6.      On June 7, 2024, Alex Jones released an episode on banned.video.com titled

Infowars On The Edge: Alex Jones Gives A Bankruptcy Update (the “June 7 Episode”). Attached

hereto as Exhibit C is a copy of a true and correct transcription of the June 7 Episode.

       7.      On June 12, 2024, I visited the Dr. Jones’ Naturals website, which is at

https://drjonesnaturals.com/.     Attached hereto as Exhibit D are screenshots showing

“InfoWarsLife”-branded products being marketed on the Dr. Jones’ Naturals website.

       8.      I am aware that items previously sold on the InfoWars Store website, at

https://www.infowarsstore.com/, are now featured on the Dr. Jones’ Naturals website as “New

Products.” Specifically, there are at least four products that were marketed on the InfoWars Store

website as of February 2024, but that appear to be no longer available on that website. These




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products are "InfoWarsLife"-branded "Wholefood Multivitamin," "Organic Greens Fiber

Capsules," "Immune Support," and a "Nascent Iodine Surface Spray," screenshots of which

(provided by an internet archiving service) are attached hereto as Exhibit E. As of June 11, 2024,

these products are marketed as "New Products" on the Dr. Jones' Naturals website homepage, a

screenshot of which is attached hereto as Exhibit F.

       9.      Free Speech Systems LLC ("FSS") filed its Global Notes and Statement of

Limitations, Methodology, and Disclaimer Regarding Debtor's Amended Schedules and

Statements on April 30, 2024 [Case No. 22-60043, Dkt. No. 900], a copy of which is attached

hereto as Exhibit G. Page 15 of 77 lists the "Infowars" and "Infowars Life" wordmarks as FSS

assets. In addition, Alex Jones filed his Global Notes and Supporting Information Regarding

Second Amended Schedules of Assets and Liabilities and Statement of Financial Affairs on April

18, 2024 [Case No. 22-33553, Docket No. 242], a copy of which is attached hereto as Exhibit H.

Pages 7-8 and 11 list "rights title and interest to" various Infowars assets as being owned by the

2022 Litigation Settlement Trust, an asset of the Jones estate.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed on June 12, 2024.



                                              /s/
                                              Vida J. Robinson




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